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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA

    AMENDED
IN RE: Criminal Cases

      This matter is before the Court upon the Court's own motion:

       IT IS HEREBY ORDERED that government's exhibits in the cases listed below are to be returned
to the United States Attorney for appropriate disposition.

      CASE NUMBER                                    CAPTION


      8:96CR46                                USA v. Leon Milton, Ernest Thornton and Jeffrey Mitchell
      8:96CR146                               USA v. Vincent Israel Adkins
      8:98CR126                               USA v. Ernesto Silverio Contreras
      8:98CR126                               USA v. Ricardo Gorrin
      8:98CR126                               USA v. Miguel Calderin-Rodriguez
      8:00CR127                               USA v. Maria Morrison
      8:00CR205                               USA v. Steven Brown, Jr.
      8:00CR236                               USA v. Ronald L. Phillips, Jr.
      8:00CR236                               USA v. Darrell Howard and Clifton Howard
      8:00CR236                               USA v. Darrell Howard
      8:01CR231                               USA v. Nathaniel Hughes
      8:01CR243                               USA v. William Watson
      8:01CR323                               USA v. Michael Hill
      8:02CR417                               USA v. Stephen Shine
      8:02CR22                                USA v. Buffy Bush
      8:02CR216                               USA v. John L. Roddy
      8:02CR219                               USA v. Bryan Dorris
      8:02CR220                               USA v. Derrick Uraye Stricklin
      8:02CR417                               USA v. Fontri Tiller
      8:02CR419                               USA v. Lamar Bass
      8:02CR421                               USA v. Calvin Williams
      4:02CR3025                              USA v. Kevin L. Cotton
      4:02CR3038                              USA v. Eugene McNeally
      8:03CR365                               USA v. Tony A. Johnson
      8:03CR385                               USA v. Jacara P. Baker
      8:03CR525                               USA v. Gregory C. Moore
      8:03CR588                               USA v. Decabooter Flowers
      4:03CR3053                              USA v. Richard Van Linda
      4:03CR3071                              USA v. John Raymond Kennon
      4:03CR3166                              USA v. Alfredo Morales, Jr.
      8:04CR36                                USA v. Hashim Amin Cawthorn
      8:04CR58                                USA v. Thomas Wilson
      8:04CR100                               USA v. Markell T. Dunn
      8:04CR101                               USA v. Charles L. Evans
      8:04CR190                               USA v. Rommel Smith
      8:04CR193                               USA v. Rodney Anthony
      8:04CR195                               USA v. Royce A. Brown
      8:04CR230                               USA v. Roscoe J. Vaughn, Jr.
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8:04CR278                             USA v. Miguel Suaez-Perez
8:04CR397                             USA v. Nathaniel D. Murry
8:05CR145                             USA v. Caesar Hinojosa
8:05CR145                             USA v. Jesus S. Hinojosa
8:05CR332                             USA v. John Wayne Lindsey
8:05CR406                             USA v. Gilbert A. Hernandez and Luisana Miranda




DATED this 12th day of June, 2007.


                                      BY THE COURT

                                      s/Lyle E. Strom
                                      Senior United States District Judge
